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2
3                                  IN THE UNITED STATES DISTRICT COURT
4                                FOR THE EASTERN DISTRICT OF CALIFORNIA
5
6    UNITED STATES OF AMERICA,                         )   NO. 1:06-cr-00167 AWI
                                                       )
7                           Plaintiff,                 )   STIPULATION TO CONTINUE STATUS
                                                       )   CONFERENCE HEARING AND ORDER
8           v.                                         )
                                                       )   Date: March 5, 2007
9    RICHARD GREG POMARES and                          )   Time: 9:00 a.m.
     CHARLENE MARIE BOEH,                              )   Judge: Hon. Anthony W. Ishii
10                                                     )
                            Defendants.                )
11                                                     )
12
13          On January 31, 2007, the parties filed the following stipulation:
14
15          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
16   counsel that the status conference hearing in the above-captioned matter now set for February 5, 2007,
17   may be continued to March 5, 2007, at 9:00 A.M.
18          This continuance is requested because this matter was just recently reassigned to Counsel for
19   Defendant Pomares and she needs time for case review and to meet and confer with Defendant and review
20   documents with him prior to hearing.
21          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
22   justice, including but not limited to, the need for the period of time set forth herein for effective defense
23   preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
24                                                                  McGREGOR M. SCOTT
                                                                    United States Attorney
25
26   DATED: January 31, 2007                                  By:    /s/ Marianne A. Pansa
                                                                    MARIANNE A. PANSA
27                                                                  Assistant United States Attorney
                                                                    Attorney for Plaintiff
28
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                                                              DANIEL J. BRODERICK
2                                                             Federal Defender
3
     DATED: January 31, 2007                            By:    /s/ Ann H. Voris
4                                                             ANN H. VORIS
                                                              Assistant Federal Defender
5                                                             Attorney for Defendant
                                                              Richard Greg Pomares
6
7
     DATED: January 31, 2007                                   /s/ John F. Garland
8                                                             JOHN F. GARLAND
                                                              Attorney for Defendant
9                                                             Charlene Marie Boeh
10
                                                    ORDER
11
            In light of the stipulation, IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. §§
12
     3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
13
14
     IT IS SO ORDERED.
15
     Dated:    February 1, 2007                       /s/ Anthony W. Ishii
16   0m8i78                                     UNITED STATES DISTRICT JUDGE
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